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 1 RICHARD A. MARSHACK
   rmarshack@marshackhays.com
 2 MARSHACK HAYS WOOD LLP
   870 Roosevelt
 3 Irvine, California 92620
   Telephone: (949) 333-7777
 4 Facsimile: (949) 333-7778

 5 Chapter 11 Trustee

 6

 7

 8                              UNITED STATES BANKRUPTCY COURT

 9                 CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

10

11 In re                                                   Case No. 8:23-bk-10571-SC

12 THE LITIGATION PRACTICE GROUP P.C,                      Chapter 11

13                Debtor.                                  CHAPTER 11 TRUSTEE’S NOTICE OF
                                                          INTENT TO:
14                                                            1. ABANDON ESTATE’S INTEREST,
                                                             IF ANY, IN MAIL HELD AT FACILITY
15                                                           IN NEW JERSEY; AND
                                                              2. SHRED MAIL
16
                                                           [Pursuant to 11 U.S.C. § 554(a) and LBR
17                                                        6007-1]

18

19 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY COURT

20 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL CREDITORS, AND

21 OTHER INTERESTED PARTIES:

22         PLEASE TAKE NOTICE that Richard A. Marshack, the duly appointed, qualified and

23 acting Chapter 11 Trustee (“Trustee”) of the Bankruptcy Estate (“Estate”) of The Litigation Practice

24 Group P.C. (“Debtor”), intends to abandon the Estate’s interest, if any, in property of the Estate as

25 detailed below, pursuant to 11 U.S.C. § 554(a) and Local Bankruptcy Rule (“LBR”) 6007-1, without

26 further Court order:

27 / / /

28 / / /

                                                   1
                             NOTICE OF INTENT TO ABANDON AND SHRED MAIL
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 1                                             ASSETS TO BE ABANDONED
 2              On or about April 15, 2023, Maverick Management Group LLC (“Maverick”) entered into a
 3 master services agreement (“Contract”)1 with TrustFlow (“TF”) regarding bulk mail services.

 4 Trustee’s investigation has revealed the following:

 5        -     Maverick provided management services to Phoenix Law Group (“Phoenix’) and
                Litigation Practice Group (“LPG”).2 Trustee is informed such services included,
 6              human resources, such as payroll costs and expenses, as well as mail maintenance.
          -     The Contract is one such management service that was provided by Maverick to LPG.
 7        -     Specifically, mail directed to Debtor and/or relating to Debtor’s clients would be
                handled by Maverick who then retained TF.
 8        -     TF would (a) collect the Debtor’s mail (“Mail”), consisting of monthly credit card
                and other loan statements of Debtor’s clients, from a Post Office box in New Jersey
 9              (“PO Box”), (b) open each envelope, review and scan the contents, (c) create an index
                and (d) upload the scanned items with the index to a cloud-based portal so that Debtor
10              and its employees could access the Mail remotely.
          -     The TF facility is located in Millville, New Jersey (“Facility”).
11        -     Trustee is informed by Mike Balberchak, an executive with TF, that TF was not
                advised of Debtor’s bankruptcy filing and continued to provide daily services until
12              mid-June 2023.3
          -     After receiving no response to attempts to contact Debtor, TF ceased providing the
13              services and instead began storing the Mail at its Facility. To that end, TF is currently
                holding approximately 18,000 pieces of mail in 75 record storage boxes.
14

15              After consulting with Morning Law Group (“MLG”) - the buyer of substantially all of
16 Debtor’s assets – MLG has determined that the Mail is not necessary for it to service the legal

17 services agreements/contracts that were the subject of the Sale held on July 21, 2023.4 Rather MLG

18 is confident that all information and calendaring that needed to occur has been done/accomplished

19 through alternative means. Given this information, Trustee believes the Mail is of inconsequential

20 value and burdensome to the Estate as storage costs continue to accrue. Accordingly, Trustee

21 believes it is in the best interest of the Estate to abandon the Estate’s interest, if any, in the Mail and

22 have the Mail destroyed by shredding. Because the Mail may contain consumer client account

23

24
     1
         The Contract was amended on May 16, 2023 (“First Amendment”). A copy of the Contract and First Amendment is
25 attached as Exhibit 1.
     2
         On June 23, 2023, the Court entered a preliminary injunction turning over to Trustee control over “all contracts,
26 records, reports, information, data, cost basis, payment information and details regarding the transfer or receipt of any
     Client files or future Client ACH payments from any other law firm, organization, corporate entity, person(s),
27 investment or marketing group (otherwise known as capping companies) to LPG; Oakstone; Greyson; Gallant; Phoenix;
     LGS Holdco., LLC; Maverick; and/or CLG.” See Dk. No. 70, I Case No. 8:23-ap-01046.
28 3 According to Mr. Balberchak, TF is owed in excess of $58,300 services rendered.
     4
         See, Dk. No. 352 in Case No. 8:23-bk-10571-SC.
                                                           2
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 1 information, Trustee intends to have the Mail (1) picked up by Trustee’s special counsel, Dinsmore

 2 & Shohl; and (2) have Dinsmore coordinate the shredding of the Mail.

 3         PLEASE TAKE FURTHER NOTICE that any response and request for hearing as to the
 4 proposed abandonment of the Mail must be in the form as required by LBR 9013-1(f) & (o) and filed

 5 with the Clerk of the above-entitled Court. The deadline for any response and request for hearing is

 6 14 days after the date of service of this Notice, plus an additional 3 days unless this Notice was

 7 served by personal delivery or posting as described in F.R.Civ.P. 5(b)(2)(A)-(B). A copy of any

 8 response or request for hearing must be served on Richard A. Marshack at the address noted above

 9 and served on the Office of the United States Trustee, 411 W. Fourth Street, Suite 7160, Santa Ana,

10 CA 92701.

11         Failure to timely respond may be deemed as acceptance of the proposed abandonment. See
12 Local Bankruptcy Rules 6007-1 and 9013-1(h). As such, if no such objection or request for hearing

13 is served and filed within the seventeen (17) day period, the Trustee will proceed with the

14 abandonment on or after the eighteenth (18th) day after service of this Notice. Plainly put, if no

15 timely objection and request for hearing is filed and served, the Personal Property shall be deemed

16 abandoned without further order of the Court.

17

18 DATED: November 24, 2023                      Respectfully Submitted,
19
                                                 By:__/s/ Richard A. Marshack_____________
20                                                   RICHARD A. MARSHACK
                                                     Chapter 11 Trustee
21

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25

26

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                                                   3
                             NOTICE OF INTENT TO ABANDON AND SHRED MAIL
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: NOTICE OF APPLICATION BY CHAPTER 11 TRUSTEE TO
EMPLOY OMNI AGENT SOLUTIONS AS CLAIMS AND NOTICING AGENT will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
November 23, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On November 27, 2023, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR – MAIL REDIRECTED TO TRUSTEE
THE LITIGATION PRACTICE GROUP P.C.
17542 17TH ST
SUITE 100
TUSTIN, CA 92780-1981
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on November 27, 2023, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA EMAIL:
INTERESTED PARTY
MIKE BALBERCHAK
TRUSTFLOW DIGITAL SOLUTIONS
Mike.Balberchak@trustflowds.com

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 27, 2023                        Pamela Kraus                                           /s/ Pamela Kraus
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:

       Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
       Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
       Ronald K Brown ron@rkbrownlaw.com
       Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Randall Baldwin Clark rbc@randallbclark.com
       Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
       Aaron E. DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
       Jenny L Doling jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net
       Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
       William P Fennell william.fennell@fennelllaw.com,
        luralene.schultz@fennelllaw.com;wpf@ecf.courtdrive.com;hala.hammi@fennelllaw.com;naomi.cwalinski@fennelll
        aw.com;samantha.larimer@fennelllaw.com
       Eric Gassman erg@gassmanlawgroup.com, gassman.ericb112993@notify.bestcase.com
       Christopher Ghio christopher.ghio@dinsmore.com,
        nicolette.murphy@dinsmore.com;angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
       Amy Lynn Ginsburg efilings@ginsburglawgroup.com
       Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
       Jeffrey I Golden jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeffreyi.b117
        954@notify.bestcase.com
       Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       David M Goodrich dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
       D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
        drive.com
       Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
       Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       Brian L Holman b.holman@musickpeeler.com
       Richard L. Hyde richard@amintalati.com
       Razmig Izakelian razmigizakelian@quinnemanuel.com
       Joon M Khang joon@khanglaw.com
       Ira David Kharasch ikharasch@pszjlaw.com
       Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
       Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
       David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
       Christopher J Langley chris@slclawoffice.com,
        omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
       Matthew A Lesnick matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com
       Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
       Britteny Leyva bleyva@mayerbrown.com,
        2396393420@filings.docketbird.com;KAWhite@mayerbrown.com;ladocket@mayerbrown.com
       Michael D Lieberman mlieberman@lipsonneilson.com
       Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
       Mitchell B Ludwig mbl@kpclegal.com, kad@kpclegal.com
       Daniel S March marchlawoffice@gmail.com, marchdr94019@notify.bestcase.com
       Kathleen P March kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net
       Mark J Markus bklawr@bklaw.com, markjmarkus@gmail.com;markus.markj.r112926@notify.bestcase.com
       Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
       Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

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       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com
       Glenn D. Moses gmoses@venable.com,
        cascavone@venable.com;ipmalcolm@venable.com;jadelgado@venable.com
       Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
       Victoria Newmark vnewmark@pszjlaw.com
       Queenie K Ng queenie.k.ng@usdoj.gov
       Keith C Owens kowens@foxrothschild.com, khoang@foxrothschild.com
       Lisa Patel lpatel@lesnickprince.com, jmack@lesnickprince.com;jnavarro@lesnickprince.com
       Michael R Pinkston rpinkston@seyfarth.com,
        jmcdermott@seyfarth.com,sfocalendar@seyfarth.com,5314522420@filings.docketbird.com,bankruptcydocket@s
        eyfarth.com
       Douglas A Plazak dplazak@rhlaw.com
       Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
       Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
       Kevin Alan Rogers krogers@wellsmar.com
       Gregory M Salvato gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
       Olivia Scott olivia.scott3@bclplaw.com
       Jonathan Serrano jonathan.serrano@dinsmore.com
       Maureen J Shanahan Mstotaro@aol.com
       Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
       Zev Shechtman zs@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
       Leslie Skorheim leslie.skorheim@usdoj.gov
       Adam D Stein-Sapir info@pfllc.com
       Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;NEF-BK@gtlaw.com;howard-steinberg-
        6096@ecf.pacerpro.com
       Andrew Still astill@swlaw.com, kcollins@swlaw.com
       Michael R Totaro Ocbkatty@aol.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bclplaw.com,
        raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com


2. SERVED BY UNITED STATES MAIL: continued:

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 ANTHEM BLUE CROSS                                 AZEVEDO SOLUTIONS GROUPS, INC                            BUSINESS CENTERS OF AMERICA
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 PO BOX 511300                                     420 ADOBE CANYON RD                                      1100 SIR FRANCIS DRAKE BLVD,
 LOS ANGELES, CA 90051-7855                        KENWOOD, CA 95452-9048                                   SUITE 1
                                                                                                            KENTFIELD, CA 94904-1476




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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 20 LARGEST CREDITOR                               RTD 05/30/23 UTF                                         20 LARGEST CREDITOR
 CALIFORNIA FRANCHISE TAX                          20 LARGEST CREDITOR                                      CREDIT REPORTING SERVICE INC
 BOARD                                             COLLABORATION ADVISORS                                   ATTN: OFFICER, A MANAGING OR
 PO BOX 942857                                     ATTN: OFFICER, A MANAGING OR                             GENERAL AGENT, OR TO ANY
 SACRAMENTO, CA 94257-0001                         GENERAL AGENT, OR TO ANY OTHER                           OTHER AGENT AUTHORIZED BY
                                                   AGENT AUTHORIZED BY                                      APPOINTMENT OR LAW TO
                                                   APPOINTMENT OR LAW TO RECEIVE                            RECEIVE SERVICE OF PROCESS
                                                   SERVICE OF PROCESS                                       548 MARKET ST, SUITE 72907
                                                   400 DORLA COURT                                          SAN FRANCISCO, CA 94104-5401
                                                   ZEPHYR COVE, NV 89448

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 DEBT PAY PRO                                      DEBT VALIDATION FUND II, LLC                             DEBT VALIDATION FUND II, LLC
 ATTN: OFFICER, A MANAGING OR                      C/O GARRICK A HOLLANDER                                  ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          WINTHROP GOLUBOW HOLLANDER                               GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         LLP                                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             1301 DOVE STREET, 5TH FLOOR                              APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        NEWPORT BEACH, CA 92660                                  RECEIVE SERVICE OF PROCESS
 1900 E GOLF ROAD, SUITE 550                                                                                5075 LOWER VALLEY ROAD
 SCHAUMBURG, IL 60173-5870                                                                                  ATGLEN, PA 19310-1774

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR / POC
 DOCUMENT FULFILLMENT                              EXECUTIVE CENTER LLC                                     ADDRESS
 SERVICES                                          ATTN: OFFICER, A MANAGING OR                             EXELA ENTERPRISE SOLUTIONS
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             SERVICE OF PROCESS                                       APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        5960 SOUTH JONES BLVD                                    RECEIVE SERVICE OF PROCESS
 2930 RAMONA AVE #100                              LAS VEGAS, NV 89118-2610                                 2701 E. GRAUWYLER ROAD
 SACRAMENTO, CA 95826-3838                                                                                  IRVING, TX 75061-3414

 20 LARGEST CREDITOR / POC                         20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 ADDRESS                                           JP MORGAN CHASE                                          LEXISNEXUS
 FIRST LEGAL NETWORK, LLC                          ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 RECEIVE SERVICE OF PROCESS                        3 PARK PLAZA, STE 900                                    15500 B ROCKFIELD BLVD
 PO BOX 743451                                     IRVINE, CA 92614-5208                                    IRVINE, CA 92618-2722
 LOS ANGELES, CA 90074-3451

 RTD 10/03/23 UTF                                  20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 20 LARGEST CREDITOR                               MC DVI FUND 1, LLC; MC DVI FUND 2,                       NETSUITE-ORACLE
 MARICH BEIN LLC                                   LLC                                                      ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      C/O GARRICK A HOLLANDER                                  GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY                                      RECEIVE SERVICE OF PROCESS
 RECEIVE SERVICE OF PROCESS                        APPOINTMENT OR LAW TO RECEIVE                            2300 ORACLE WAY
 99 WALL STREET, STE 2669                          SERVICE OF PROCESS                                       AUSTIN, TX 78741-1400
 NEW YORK, NY 10005-4301                           1598 COTTONWOOD DR
                                                   GLENVIEW, IL 60026-7769


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 20 LARGEST CREDITOR / POC                         20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 ADDRESS                                           SHARP BUSINESS SYSTEMS                                   TASKUS HOLDINGS, INC.
 OUTSOURCE ACCELERATOR LTD                         ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 C/O PAUL R. SHANKMAN, ESQ                         GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 FORTIS LLP                                        AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 650 TOWN CENTER DRIVE, SUITE                      APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 1530                                              SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 COSTA MESA, CA 92626                              8670 ARGENT ST                                           1650 INDEPENDENCE DR
                                                   SANTEE, CA 92071-4172                                    NEW BRAUNFELS, TX 78132-3959

 20 LARGEST CREDITOR                               RTD 06/05/23 UTF
 TUSTIN EXECUTIVE CENTER                           20 LARGEST CREDITOR
 ATTN: OFFICER, A MANAGING OR                      VALIDATION PARTNERS LLC
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY
 RECEIVE SERVICE OF PROCESS                        APPOINTMENT OR LAW TO RECEIVE
 1630 S SUNKIST STEET, STE A                       SERVICE OF PROCESS
 ANAHEIM, CA 92806-5816                            1300 SAWGRASS PKWY, STE 110
                                                   SUNRISE, FL 33323

4885-6511-2722




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